          Case 17-31052            Doc 126 Filed 07/23/18 Entered 07/23/18 15:58:46                                Desc
                                      Nonevidentiary hearing Page 1 of 1
                                        UNITED STATES BANKRUPTCY COURT
                                           DISTRICT OF MASSACHUSETTS


In Re:    Richard M. Shove and Kathleen E. Shove,                           Chapter: 7
          Debtor                                                            Case No: 17−31052
                                                                            Judge Elizabeth D. Katz



                                     NOTICE OF NONEVIDENTIARY HEARING

PLEASE TAKE NOTICE that a HEARING will be held on 8/30/18 at 11:30 AM before the Honorable Judge
Elizabeth D. Katz, United States Courthouse, 300 State Street, Berkshire Courtroom, Third Floor, Springfield, MA
01105−2925 to consider the following:

             [125] Motion of Debtors to Compel the Chapter 7 Trustee to Abandon estate property; and
             conclude Meeting of Creditors

OBJECTION/RESPONSE DEADLINE: AUGUST 22, 2018 at 4:30PM

If no deadline is set, the objection/response deadline shall be governed by the Federal Rules of Bankruptcy
Procedure (FRBP) and the Massachusetts Local Bankruptcy Rules (MLBR). If no objection/response is timely
filed, the Court, in its discretion, may cancel the hearing and rule on the motion without a hearing or further notice.
See MLBR 9013−1(f).


THE MOVING PARTY IS RESPONSIBLE FOR:

      1. Serving a copy of this notice upon all parties entitled to notice forthwith; and

      2. Filing a certificate of service with respect to this notice seven (7) days after the date of issuance set forth
         below. If the hearing date is less than seven (7) days from the date of issuance, the certificate of service
         must be filed no later than the time of the hearing. If the movant fails to timely file a certificate of
         service, the court may deny the motion without a hearing.

NOTICE TO ALL PARTIES SERVED:

      1. Your rights may be affected. You should read this notice, the above referenced pleading and any related
         documents carefully and discuss them with your attorney, if you have one. If you do not have an attorney,
         you may wish to consult one.

      2. Any request for a continuance MUST be made by WRITTEN MOTION filed and served at least one (1)
         business day prior to the hearing date. See MLBR 5071−1.

      3. The above hearing shall be nonevidentiary. If, in the course of the nonevidentiary hearing, the court
         determines the existence of a disputed and material issue of fact, the court will schedule an evidentiary
         hearing. If this is a hearing under section 362, it will be a consolidated preliminary and final
         nonevidentiary hearing unless at the conclusion thereof the court schedules an evidentiary hearing.


Date:7/23/18                                                                By the Court,

                                                                            Stephen Reynolds
                                                                            Deputy Clerk
                                                                            413−785−6909

Emergency Closings: To find out if the Court will be closed in case of stormy weather or other emergency, dial (617) 748−5314 or (866)
419−5695 (toll free) for a recorded message.
